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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF VIRGINIA
                         (Alexandria Division)

UNITED STATES OF AMERICA,               )
                                        )
v.                                      )
                                        )        1:15CR124(TSE)
MUNEEB AKHTER,                          )
                                        )
            Defendant.                  )

                  DEFENDANT’S POSITION WITH RESPECT
                    TO SENTENCING FACTS AND FACTORS

      Mr. Akhter, through counsel, respectfully represents that he

has reviewed the Presentence Report (PSR) and, in accordance with

18 U.S.C. § 3553(a) and the remedial scheme set forth in United

States v. Booker, 543 U.S. 220 (2005), and United States v.

Hughes, 401 F.3d 540 (4th Cir. 2005), presents the Defendant’s

Position with Respect to Sentencing Facts and Factors to aid the

Court in determining an appropriate sentence.

I.    18 U.S.C. § 3553(a) Considerations

      After United States v. Gall, 552 U.S. 38 (2007), the

Sentencing Guidelines range is truly advisory.             Rejecting the

government’s argument that sentences significantly outside the

advisory guidelines range should be subjected to exacting

scrutiny on appeal, the Supreme Court in Gall stressed that “the

Guidelines are only one of the factors to consider when imposing

sentence . . . .”        Id., at 59.    As the Supreme Court explained,

the advisory Sentencing Guidelines range is only a “starting



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point and the initial benchmark” from which sentencing courts

should begin to make their sentencing determinations.               Id., at

49.   Pursuant to Booker, courts must consider the recommended

guideline range as one of seven coequal statutory sentencing

factors enumerated in 18 U.S.C. § 3553(a).              Booker, 543 U.S. at

259-60 (2005).     The Court must now consider each of the following

sentencing factors:

      1.    The Nature and Circumstances of the Offense and the
            History and Characteristics of the Defendant

      2.    The Need for the Sentence Imposed

      3.    The Kinds of Sentences Available

      4.    The Sentencing Range Established under the Sentencing
            Guidelines

      5.    Pertinent Policy Statement Issued by the Sentencing
            Commission

      6.    The Need to Avoid Unwarranted Sentence Disparities
            among Defendants with Similar Records Who Have Been
            Found Guilty of Similar Conduct

      7.    The Need to Provide Restitution to Any Victims of the
            Offense.

      Upon consideration of these factors, a sentencing court may

find that the case falls outside the “heartland” contemplated by

the Sentencing Guidelines, or that “the guidelines sentence

itself fails properly to reflect the § 3553(a) considerations,”

or that “the case warrants a different sentence regardless.”

Rita v. United States, 551 U.S. 338, 351 (2007).              While the Court

must begin its analysis by correctly calculating the advisory


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sentencing range, the Court is then free in light of the other

statutory sentencing factors to impose an entirely different

sentence.     This is because, under Rita, the Court is free simply

to disagree, based on the § 3553(a) sentencing factors, with the

Sentencing Guidelines’s “rough approximation” of the appropriate

sentence for any given case. Id., at 350.

      The primary directive of § 3553(a) is to “impose a sentence

sufficient, but not greater than necessary, to comply with the

purposes” of sentencing.       After Booker and Gall, therefore,

sentencing courts must impose the minimum sentence that is

sufficient to accomplish the objectives of § 3553(a).              Moreover,

there is no presumption that the advisory Sentencing Guidelines

range is the minimally sufficient sentence that § 3553(a)

requires this Court to determine and impose.            See Gall, 552 U.S.,

at 50 (sentencing court “may not presume that the Guidelines

range is reasonable.      He must make an individualized assessment

based on the facts presented.”) (internal citation omitted).                In

Gall, for example, the Supreme Court found that a sentence of

probation was “reasonable” in a case in which the Sentencing

Guidelines called for a sentencing range of 30-37 months, and

reversed the Court of Appeals for failing to “reflect the

requisite deference” to the District Court’s sentencing decision.

Id., at 56.    Indeed, whatever sentence the Court imposes after

appropriately considering all the statutory sentencing factors


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“whether inside, just outside, or significantly outside the

Guidelines range,” the Court’s sentence must be reviewed by the

Fourth Circuit under a “deferential abuse-of-discretion

standard.”    Id., at 51 (reversing Court of Appeals and

reinstating a probationary sentence where advisory sentencing

range was 30-37 months).

      In Kimbrough v. United States, 552 U.S. 85 (2007), the Court

held that a district court is free under the advisory Sentencing

Guidelines to sentence outside the advisory range on the basis of

a disagreement with a policy determination made by the Sentencing

Commission in that case, the 100:1 sentencing disparities between

“crack” and powder cocaine.       The Supreme Court held that “it

would not be an abuse of discretion for a district court to

conclude when sentencing a particular defendant that the

crack/powder disparity yields a sentence ‘greater than necessary’

to achieve § 3553(a)’s purposes, even in a mine-run case.” 552

U.S., at 109.     In other words, a sentencing court is free under

Kimbrough to disagree on policy grounds with a judgment of the

Sentencing Commission even when the offense at issue falls

squarely within the type of cases to which the Sentencing

Commission intended a particular guideline to apply.

      In two recent summary reversals, moreover, the Supreme Court

expressed in no uncertain terms the Sentencing Guidelines cannot

be used as a substitute for a sentencing court’s independent


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determination of a just sentence based upon consideration of the

statutory sentencing factors.          Nelson v. United States, 555 U.S.

350 (2009); Spears v. United States, 555 U.S. 261 (2009).

     “Our cases do not allow a sentencing court to presume that a

sentence within the applicable Guidelines range is reasonable,”

the Court held in Nelson.       555 U.S. at 352.         “The Guidelines are

not only not mandatory on sentencing courts; they are also not to

be presumed reasonable.”       Id., at 352.      In other words,

sentencing courts commit error by using a Sentencing Guidelines

range as a default to be imposed unless a basis exists to impose

a sentence outside that range.         The law has come full circle.          As

it was before November 1, 1987, the effective date of the

Sentencing Guidelines, the Court again finds itself tasked with

the traditional role of judging Mr. Akhter, this unique

defendant, who stands no comparison to other individuals.                In

this case, more than most which come before the Court, this

command that the Court return to the task of judging the

individual is most appropriate.         As the Court has seen in the PSR

and as will be argued below, Mr. Akhter presents with a very

promising background filled with years of hard work and

dedication that recommend a life of positive service to the

community.    This criminal charge portends a future that threatens

this hoped for trajectory.

      1.    The Nature and Circumstances of the Offense and the
            History and Characteristics of the Defendant

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            a.    Mr. Akhter’s Cooperation with the Government

      It is important to consider that Mr. Akhter has not only

pled guilty to the offenses herein, since entering his plea, he

has openly participated in two proffer sessions.             During these

meetings, the Government, through a number of different agents,

aggressively sought information about all of the activities of

Mr. Akhter and his brother, indicted and otherwise, and Mr.

Akhter remained calm and cooperative, and answered all the

questions.    Mr. Akhter provided the Government with a significant

amount of information, a significant amount of which was not

known otherwise.

      Additionally, while locked up in the Alexandria Adult

Detention Center, Mr. Akhter became aware of useful and important

information in an unrelated matter.         The information was shared

with the government through Mr. Akhter’s attorneys, and, upon

information and belief, was acted upon.

      Nonetheless, the Government has not confirmed for counsel

for Mr. Akhter that they intend to file a Rule 5K Rule 35 motion.

            b.    Mr. Akhter’s Advanced Professional Accomplishments
                  and Letter of Support by Accomplished Colleague,
                  Dan Farmer

      Mr. Akhter, though still quite young, has applied himself

and has accomplished much.       As a consequence, he has created the

prospect of a successful life of service.           When he was only 19

years old he was graduated from George Mason University with an


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undergraduate degree in Electrical Engineering.             Exhibit 1.    Only

a year and a half later, he earned a Master of Science in

Computer Engineering, with cum laude honors, also from George

Mason University. In addition, Mr. Akhter has received numerous

certificates related to the computer industry.            PSR, ¶ 187.

      Mr. Akhter has also received numerous awards relating to

“hackathons,” or competitions during which the participants

compete to create the best “apps” (applications).             A review of

his awards, and the apps he created, displays not only his talent

for creating programs on the computer, but also an altruistic

side, when considering what the apps were designed to do.               His

awards include:

      - 2nd Place; Code for Country Hackathon; he created the

      Neighborhood Network Notifier (N3), which was a text-

      powered app using Google Maps/Google Voice to keep

      neighbors in touch with each other for contemplated

      uses like neighborhood watches and notifications.

      - 1st Place; U.S. World Bank Hackathon; he created the

      Botswana Water-Billing Text App, which helps people in

      rural developing countries pay their water bills by

      having their number attached to their bank account

      through the app.

      - 3rd Place; Edu Hack Day Hackathon; he created

      PIEDANTE (Teach Tracker), which is a website that hosts


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      videos of teachers teaching students for evaluation and

      improving techniques.

      - 3rd Place; Apps for Entrepreneurs Hackathon; he

      created CAPITALIST, which helps entrepreneurs in the

      U.S. create and manage small businesses.

      - 2nd Place; HealthHack DC; he created CARE-O-LINE, a

      text-powered app using APIs and Twilio to keep people

      notified about suppoting events for healthcare in their

      neighborhoods.

      - Student Winner; Nokia Ready, Set, Code; he created

      MINDSCAPE, a smartphone app that allows parents to fund

      afterschool activities for their kids.

      - 2nd Place; Random Hacks of Kindness; he created the

      Nikey Clean Consumer App, which helps consumers

      purchase more eco-friendly products by scanning

      products to determine the materials in the

      manufacturing process and how easy it is to recycle it.

      - 3rd Place; Microsoft Hackathon; he created the

      TRUSTPAGES app, which creates digital business cards

      that can be transferred from one contact to another

      through tapping devices, or with a few presses in the

      app.

      Further, Mr. Akhter was able to successfully compete for a

contract worth $200,000, awarded by the Defense Advanced Research


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Projects Agency (DARPA).       PSR, ¶ 189.     Exhibit 2.      While engaged

in this work    Mr. Akhter met and worked with Dan Farmer, a Marine

Corps veteran who served in Desert Storm, who has worked

professionally in computer science for over 25 years.              During

this time period, Mr. Farmer has been the top security architect

for four Fortune 500 companies (including the largest security

company in the world).      Further, Mr. Farmer started his own

company which rose to 50 employees, and has testified about

computer security issues before Congress.           In addition, Mr.

Farmer has appeared as an expert witness in federal courts,

written a book and numerous articles on computer security, given

many talks, classes, & seminars, and has been inducted into the

Information Systems Security Association (ISSA) Hall of Fame.

Mr. Farmer succinctly states the issue the Court confronts in

this case:

      In no fashion do I condone or agree with any of [the
      defendant’s] actions – they were foolish, reckless, and
      criminal. It might seem striking that this young
      wunderkind – the youngest-ever graduate of George Mason
      University – could possibly go so far astray. But it’s
      been my personal experience in dealing with many other
      brilliant young people is [sic] that while they can be
      wizards with computers they are often stupendously
      under-socialized, live in an isolated fashion on their
      computers, and often have a muted understanding as to
      the consequences of their actions from societal and
      legal standpoints. It simply takes them longer to learn
      some things.

Letter from Dan Farmer to the Court.         Exhibit 2.      Indeed, Mr.

Akhter has much to learn.       Still, this is Mr. Akhter’s first


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encounter with the criminal justice system and no matter the

length of sentence this Court judges to be fair, just and

appropriate, Mr. Akhter will feel the impact of his decisions in

this matter for many, many years to come.

            c.    Mr. Ahkter’s Family Contributions and Suport

      In addition to the letter referred above that was written by

Dan Farmer, attached hereto are a substantial number of letters

which were written in support of Mr. Akhter by people who know

him well, and who are aware of the specifics of the sentencing

proceedings herein.

      In addition to professional colleagues and friends, attached

hereto there are 13 letters written by family members of Mr.

Akhter. The documents reflect not only a deep and genuine love to

and from all his family members, including his many younger

cousins, but also a history of continuing commitment to

contribute to and help his many relatives.

      Attached hereto are letters from:

      Daniel Farmer (Professional Colleague; DARPA), Exhibit 3;
      Saadia Qureshi (aunt), Exhibit 4;
      Mohammed Aslam Khan (uncle), Exhibit 5;
      Najam Akhter (father), Exhibit 6;
      Sameena Parveen (aunt), Exhibit 7;
      Zarina Ameen , Exhibit 8;
      Usman Hamid (cousin), Exhibit 9;
      Munira Akhter (sister), Exhibit 10;
      Sabera Akhter (sister), Exhibit 11;
      Amerah Akhter (mother), Exhibit 12;
      Kauser Hamid (Aunt), Exhibit 13;
      Iffat Mobin-Uddin (aunt), Exhibit 14;
      Siraj Akhter (uncle), Exhibit 15;
      Rana Parveen (grandmother), Exhibit 16;

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      Bader Ahmed (grandmother), Exhibit 17;
      James Arcieri (professional friend), Exhibit 18;
      Pete Erickson (professional friend), Exhibit 19;
      Seif Kobrosly (professional friend), Exhibit 20.

      It is useful to highlight some of the letters, and point out

some thoughts and observations.         The list of attached letters

includes the following.

- His Aunt, Kauser Hamid highlights the selfless nature of Mr.

Akhter.    She notes “I have always seen [Muneeb and Sohaib] put

others’ needs before their own.         For example, whenever we have

visited them, they allowed my kids to sleep in their rooms and

beds, and they themselves slept on the carpet in the basement.” -

His Uncle, Siraj Akhter, in commenting on how well Muneeb gets

along with his cousins stated “[t]hey are extremely gentle and

affectionate which in turns makes their cousins adore them.” Then

later, he points out that “[w]hen we went to the rec center they

would always help, especially with the little kids, pushing the

swings and playing with them both indoor and outdoor.              When we

would go out to dinner they would take care of the little kids,

encouraging them to eat while keeping them entertained.”

Finally, and importantly, Mr. Hamid atates, based on extensive

knowledge and experience, that “[M]uneeb is an extremely trusting

person and unfortunately this is what has hurt him.”

- His Aunt, Iffat Mobin-Uddin, provides a full photo documentary

which includes many pictures involving family gatherings and


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functions.     The photos are candid and heart-warming, and

illustrate Mr. Akhter’s background, and the mutual strong love

and support his family continues to provide.

- His father, Najam Akhter, and his mother, Amerah Akhter both

provided very emotional and supportive letters of support.                  His

father points out that “They [now] understand that they were

blessed with almost everything they wanted and there was

absolutely no reason for the serious mistakes committed. . . .

{w]e have discussed on numerous times and they recognize that

they have ample potential to do good in society and never to

indulge in any illegal acts.         I can honestly say that they have

taken my advice to heart.         Both Muneeb and Sohaib want to make

things right for their future and are willing to do what it takes

to get back on track with real life.”            Also, his mother, in

describing the full history of both her sons, emotionally notes

that “[o]n a personal level, Your Honor, I must admit most

sincerely, that it has been a blessing watching him and his

brother grow up.         Often times I felt honored and grateful to God

Almighty that I was blessed to be the only one to witness the

wonderful things they would do.”

      2.    The Need for the Sentence Imposed

            A.    The Need for the Sentence Imposed to Reflect the
                  Seriousness of the Offense, to Promote Respect for
                  the Law, and to Provide Just Punishment for the
                  Offense


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      Mr. Akhter’s actions reflect a very young person who just

now is entering the adult world on an emotional level.               The Court

should temper its concern for the seriousness of these offenses

with an appreciation of Mr. Akhter’s utter failure to appreciate

the seriousness of his conduct at the time he             committed these

offenses.    Mr. Akhter now holds a full and robust appreciation

for the seriousness of these choices which he will carry forward

into his adult life.

            B.    The Need for the Sentence Imposed to Afford
                  Adequate Deterrence to Criminal Conduct

      True, a period of confinement will deter in the future.

More than this, however, the harm Mr. Akhter has done to his

career path will surely serve as a deterrent force of equal

strength.

            C.    The Need for the Sentence Imposed to Protect the
                  Public from Further Crimes by the defendant

      Mr. Akhter is in Criminal History Category I.             The Court may

fairly conclude Mr. Akhter presents no danger to the community in

the future. Mr. Akhter will be under supervised release, his

career, already profoundly damaged by this offense, cannot

survive further criminal conduct.

            D.    The Need for the Sentence Imposed to Provide the
                  Defendant with Needed Educational or Vocational
                  Training, Medical Care, or Other Correctional
                  Treatment in the Most Effective Manner

      Unlike many defendants who appear before the Court, Mr.

Akhter does not need educational or vocational training, medical

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care, or other correctional treatment.

      3.    The Kinds of Sentences Available

      There are not mandatory sentences in this case.             The Court

is free to fashion the sentence the Court determines, in its

judgment, in fair, necessary and just to accommodate the relevant

sentencing factors.

      4.    The Sentencing Range Established under the Sentencing
            Guidelines

            A.     Factors and Facts in Dispute

      Mr. Akhter has the following objections to the Presentence

Investigation Report:

      ¶¶ 13, 14.     These paragraphs unnecessarily describe a

domestic squabble between Muneeb Akhter and his brother, Sohaib

Akhter, which are irrelevant to the charges facing Mr. Akhter.

Their addition to the PSR serves only to influence the security

level placement for Mr. Akhter within the BOP system and should

be removed from the PSR.

      ¶ 109.     Mr. Akhter denies he intended to sell the agent’s

information on the “dark net” and already had deleted this

information.

      ¶ 117.     The PSR incorrectly awards Muneeb Akhter an

enhancement of his offense levels for his leadership role in

Count One (¶ 132).       In truth, Muneeb Akhter, his brother and

Musaddiq Ishaq played equal roles in the conspiracy encompassed



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in Count One.     Each offered skills or opportunities not held by

his co-defendants.       Assuming arguendo Muneeb Akhter “initiated

the instant scheme,” that does not mean he was a leader or

organizer of the scheme once it was embraced by all co-

conspirators.

      ¶ 121.    Mr. Akhter objects to the PSR’s position that Mr.

Akhter is subject to an enhancement on the grounds he deleted

information from his computer. U.S.S.G. § 3C1.1 provides:

      If (1) the defendant willfully obstructed or impeded,
      or attempted to obstruct or impede, the administration
      of justice with respect to the investigation,
      prosecution, or sentencing of the instant offense of
      conviction, and (2) the obstructive conduct related to
      (A) the defendant's offense of conviction and any
      relevant conduct; or (B) a closely related offense,
      increase the offense level by two levels. (Emphasis
      provided).

The search warrant referred to in this paragraph was issued by a

state judicial officer and was not necessarily “with respect to

the investigation, prosecution, or sentencing of the instant

offense of conviction.”

      ¶ 123.    Mr. Akhter merits the three level reduction for

acceptance of responsibility.          Application Note 4, U.S.S.G. §

3E1.1 addresses instances of obstructive behavior following a

plea agreement.      The PSR cites to conduct before Mr. Akhter

finally entered his guilty plea.            The logic of the PSR denies

acceptance of responsibility to all defendants who have ever

attempted to thwart an investigation.            The PSR invites the


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Court’s attention to United States v. Knight, 606 F.3d 171, 176

(4th Cir, 2010).     In Knight the Fourth Circuit noted that this

Circuit rejects the application of a bright-line rule that an

acceptance-of-responsibility reduction should be applied so long

as Mr. Akhter does not obstruct justice after agreeing to plead

guilty.    Instead, the Knight directs district courts to decide

whether to award this reduction on a case-by-case basis.                 This

case recommends the award of this reduction.               Mr. Akhter is very

young.    He has no prior criminal history.             As observed by Dan

Farmer, in his letter of support referenced above, Mr. Akhter is

stupendously under-socialized.         His choices obstructed justice.

There is no dispute with this.         Mr. Akhter, however, has fully

embraced his responsibility for his actions and reveals true

remorse for his choices in this case.

                         OFFENSE LEVEL CALCULATIONS

Counts One & Two

      ¶ 134.    As noted above, Mr. Akhter does not merit this two

level offense level increase for a role as the leader or

organizer.

      ¶ 136.      The final adjusted offense level is 22.

Count Seven

      Count Seven is grouped separately.          All counts of conviction

should be grouped together.

      ¶ 138.    Pursuant to the FedMine price list, the data


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accessed by Mr. Akhter was valued at approximately $5,000 to

$6,500.    The PSR should award only two offense levels, pursuant

to U.S.S.G. § 2B1.1(b)(1)(B).

      ¶ 140.    The PSR awards two offense levels because Mr. Akhter

used a special skill.       This increase in improper.         All skills are

special to the people who possess these skills.             These skills are

not special to those who work in the same field.             By this logic,

every loan officer faces this enhancement in a mortgage fraud

prosecution; every drug dealer faces this enhancement in a drug

trafficking conspiracy.

      ¶ 142.    Accordingly, the adjusted offense level for Count

Seven is 8 not 12.

Count Eight

      ¶ 148.    The PSR awards two offense levels because Mr. Akhter

used a special skill.       This increase in improper.         All skills are

special to the people who possess these skills.             These skills are

not special to those who work in the same field.             By this logic,

every loan officer faces this enhancement in a mortgage fraud

prosecution; every drug dealer faces this enhancement in a drug

trafficking conspiracy.

      ¶ 150.    Accordingly, the adjusted offense level for Count

Eight is 13, not 15.

Multiple Count Adjustment:

      ¶ 163.    Count 12 should be grouped with Counts 1 & 2,


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pursuant to U.S.S.G       § 3D1.2 (c), which provides:

      (c) When one of the counts embodies conduct that is
      treated as a specific offense characteristic in, or
      other adjustment to, the guideline applicable to
      another of the counts.

The obstruction described in Count 12 was considered in the PSR

at ¶ 135 and two offense levels were added to the offense level

calculations for Counts 1 & 2 for the obstruction described in

Count 12.

      Alternatively, all counts group together pursuant to U.S.S.G

§ 3D1.2 (d) because all offenses are continuous in nature:

      (d) When the offense level is determined largely on the
      basis of the total amount of harm or loss, the quantity
      of a substance involved, or some other measure of
      aggregate harm, or if the offense behavior is ongoing
      or continuous in nature and the offense guideline is
      written to cover such behavior.

Consequently, there is no increase in the offense level from 24

to 25 in this paragraph.

      ¶ 165.    Mr. Akhter objects to the addition of any offense

levels based on grouping of counts.

      ¶ 166.    The greatest offense level is for Count 1 and 2,             at

22.

      ¶ 168.    Mr. Akhter is entitled to acceptance of

responsibility.

      ¶ 169.    The total offense level is 22, with the award of a

three level reduction for acceptance of responsibility, the

adjusted offense level drops to 19.


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      ¶ 197.    The adjusted offense level should be 19. In Criminal

History Category I Mr. Akhter faces a recommended sentencing

range of 30-37 months.

      5.      Pertinent Policy Statement Issued by the Sentencing
              Commission

      None.

      6.      The Need to Avoid Unwarranted Sentence Disparities
              among Defendants with Similar Records Who Have Been
              Found Guilty of Similar Conduct

       Musaddiq Ishaq (Docket No. 1:15CR00116-001) was sentenced

by the Court on May 1, 2015.          Though the disposition is

underseal, the first version of the PSR inadvertently revealed

this disposition.        PSR, 10.    As asserted above, Mr. Akhter does

not merit the role enhancement awarded by the PSR.               Mr. Akhter,

his brother Sohaib Akhter and Musaddiq Ishaq were co-equals and

their sentences should be harmonized. Indeed, defendant Ishaq

arguably abused his relationship with his mother at the outset of

this offense to insinuate himself and the co-defendants into a

position of trust with Shea Terra.

                                    CONCLUSION

      It appears likely that the Government will not file a motion

under Fed. R. Crim. P. 35.          The sentence the Court imposes will

be the final sentence.        Mr. Akhter, by counsel, respectfully asks

that the Court consider the sentence imposed on Musaddiq Ishaq as

a benchmark for the sentence in this case.

      Mr. Akhter further asks that the Court consider releasing

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him with conditions so that he will be able to self-surrender to

the facility designated by the Bureau of Prisons.

                                   Respectfully submitted,

                                   Muneeb Akhter
                                   By Counsel

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                          CERTIFICATE OF SERVICE

     I hereby certify that on September 20, 2015, I
electronically filed the foregoing with the Clerk of Court using
the CM/ECF system, which will then send a notification of such
filing (NEF) to counsel of record.

     Pursuant to the Electronic Case Filing Policies and
Procedures, a courtesy copy of the foregoing pleading will be
delivered to Chambers within one business day of the electronic
filing.


                                    /s/
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